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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,          )
                                   )
               Plaintiff,          )             CRIMINAL ACTION
                                   )
v.                                 )             No. 12-10089-01-23
                                   )
Jason Najera, Pedro Garcia,        )
Gonzalo Ramirez, Russell Worthey, )
Anthony Wright, Joshua Flores,     )
Jesus Flores, Angel Cerda,         )
Juan Torres, Alfredo Beltran-Ruiz, )
Donte Barnes, Jesus Sanchez,       )
Enrique Gobin, Alfonso             )
Banda-Hernandez, Andrew Gusman,    )
Eusebio Sierra-Medrano, Jayson     )
Vargas, Adam Flores, Fabian Neave, )
Jesus Torres, Jose Neave, Hernan   )
Quezada,                           )
                                   )
               Defendants.         )
                                   )
                               MEMORANDUM AND ORDER
        This case comes before the court on extensive pretrial motions
filed by defendants.1         (Docs. 325, 328, 330, 332, 334, 336, 338, 340,
342, 344, 346, 347, 349, 351, 353, 355, 356, 366, 367, 369, 372, 374,
375, 377, 378, 379, 381, 383, 384, 385, 386, 387, 388, 391-398, 400,
402-405, 407, 409-411, 413-428, 430, 431, 433-438, 440, 441, 443, 445,
446, 448, 449, 453-455, 457, 458, 459, 460).              The motions have been
fully briefed and are ripe for decision.            (Docs. 475-488, 490).
I.      Facts
        On April 16, 2012, the grand jury returned an indictment against


        1
       Due to the fact that all defendants have moved to join various
motions filed by their co-defendants, the court will refer to
defendants collectively even if a particular defendant did not join
a particular motion. On that note, the court will group the motions
based on subject matter unless the motion is specific to a single
defendant.
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23 defendants.     The indictment alleges 38 counts, including charges
of violent crimes in aid of racketeering, conspiracy and felon in
possession of a firearm.      The indictment alleges that defendants were
engaged in a criminal organization, the Nortenos gang, whose members
engaged in narcotics distribution and acts of violence involving
murder and robbery.    These crimes were alleged to have been committed
in Dodge City, Kansas.       Defendant Jason Najera is the alleged leader
of the Nortenos. The indictment further alleges that the racketeering
conspiracy began in 2008 and continued through the date of the
indictment.
        On November 13, 2012, defendant Humberto Ortiz entered a guilty
plea.      The remaining 22 defendants, with the exception of Jesus
Flores, have filed the present motions before the court.
II.   Analysis
      A.    Motions for Gang Related Discovery (Docs. 325, 355, 356,
            379)
      Defendants   seek    Dodge   City    Police   Department      policies   and
procedural material developed and used in connection with the creation
of the Gang Sheets.       Defendants also seek gang participation records
kept by any law enforcement agency.         The government responds that it
will provide the Dodge City Police Department policies and gang sheets
for all defendants.       The government will also provide each defendant
with the underlying source material for their gang sheets.                      In
addition, the government will provide gang participation records of
other agencies that it has in its control.                   The government must
provide these records, if it has not already done so, on or before
February 4, 2013.

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     Defendant Pedro Garcia additionally seeks the underlying source
documents for third-party gang sheets.               (Doc. 380 at 2-6).           The
government responds, to the extent possible, it will produce the
source material.      (Doc. 486 at 4).
     Defendants’ motions for gang related discovery are therefore
granted.    (Docs. 325, 355, 356, 379).
     B.     Motions for a Bill of Particulars (Docs. 328, 351, 385, 417,
            430)
     Defendants argue that the indictment is not sufficient to put
defendants on notice of the nature and manner of the commission of the
alleged conspiracy.         Defendants seek the identity of known but
unidentified co-conspirators, the location of the conspiracy, the
manner in which it was designed, the persons present when it was
formed, the terms of the agreement, the particulars and locations as
to all meetings, and the date when defendants joined such conspiracy.
Further, defendant Ramirez asserts that the government’s conclusory
allegation    that    the   charges   affect    interstate      commerce     is   not
sufficient.
     “The purpose of a bill of particulars is to inform the defendant
of the charge against him with sufficient precision to allow him to
prepare his defense . . . .”        United States v. Kunzman, 54 F.3d 1522,
1526 (10th Cir. 1995)(quoting United States v. Levine, 983 F.2d 165,
166-67 (10th Cir. 1992)).         “A bill of particulars, however, is not a
discovery    device   but   may    serve   to   amplif[y]     the   indictment     by
providing additional information.”           United States v. Dunn, 841 F.2d
1026, 1029 (10th Cir. 1988)(internal citations omitted).                 The Tenth
Circuit has held that an indictment is sufficient if it apprises

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defendants of their crimes and defendants have been provided full
discovery.      Kunzman, 54 F.3d at 1526.              Defendants’ request must show
that    the    failure      to   provide      the    information      would     result    in
prejudicial surprise.            United States v. Anderson, 31 F. Supp.2d 933,
938 (D. Kan. 1998)(citing United States v. Wright, 826 F.2d 938, 943
(10th Cir. 1987)).
       Defendants cite Anderson for the proposition that they should be
provided with the identity of unindicted known co-conspirators.                          The
court agrees.          This information, if not disclosed, may subject
defendants to prejudicial surprise or double jeopardy problems as
Anderson contemplated.            The government must disclose the names on or
before      February   4,    2013.      The     remaining      information      sought    by
defendants, however, has not been shown to be necessary for defendants
to prepare for trial. Anderson, 31 F. Supp.2d at 938. The government
has    provided   defendants         with   extensive       discovery,      a   fact   that
defendants have not contested.              Defendants are not entitled to know
the entirety of the government’s case, which is essentially what they
are requesting.
       Defendants’ motions for a bill of particulars are granted in part
and denied in part.          (Docs. 328, 351, 385, 417, 430).
       C.     Motions for Notice of Co-Conspirator Statements and James
              Hearing (Doc. 330, 353, 367, 369, 443)
       The court will conduct a James hearing in this case on February
13, 2013, at 9:30 a.m.            Defendants’ motions are therefore granted.




       D.     Motions to exclude Co-Conspirator Testimonial Statements

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               (Docs. 332, 340)
        Defendants’     seek     to   exclude     co-conspirator        testimonial
statements.       The government responds that it is not aware of any such
statements at this time. Defendants’ motions are denied. (Docs. 332,
340).
        E.     Motions for Notice of the Government’s Intent to Offer Rule
               404(b) Evidence (Docs. 334, 342, 366, 397)
        Defendants seek an order requiring the government to provide them
with a notice of its intent to offer Rule 404(b) evidence by a certain
date.        The government is instructed to provide defendants with the
notice thirty days prior to trial, which date will be discussed at the
James hearing.
        F.     Motion to Exclude Guilty Pleas by Non-Testifying Defendants
               (Doc. 336)
        Defendants move to preclude the admission of non-testifying co-
defendants’ guilty pleas.          The government responds that it does not
intend to introduce this evidence.            (Doc. 480).      Defendants’ motion
is denied as moot.       (Doc. 336).
        G.     Motion for an Extension of Time to File Additional Motions
               (Doc. 338)
        Defendant Garcia seeks additional time to file any motions that
may be appropriate after reviewing the discovery. The motion deadline
has passed and Garcia filed eighteen motions prior to the deadline.
Garcia’s motion is denied, without prejudice, but any defendant
desiring to file additional motions will be required to show why the
motion could not have been filed before the deadline.                 (Doc. 338).
        H.     Motion to Prohibit Law Enforcement from Approaching

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             Defendants (Doc. 344)
       Defendants move for an order which will prohibit the government
from approaching them with regard to this case, presumably without the
knowledge of their counsel.             The court’s general order of discovery
entered in this case states that the government shall not violate any
defendant’s Constitutional rights.              The court assumes the government
will not do anything which will jeopardize its case.                     The motion is
denied. (Doc. 344).
       I.    Motion to Allow Defendant’s Investigator Not to be Subject
             to the Sequestration Rule (Doc. 346)
       The    United     States   does    not     object      to   the   exception       to
sequestration suggested in the motion.                   Therefore, the motion is
granted, subject to conditions which the court may impose at trial.
(Doc. 346).
       J.    Motion for Adequate Court Facilities (Doc. 347)
       Defendant Sierra-Medrano’s motion for a separate table at trial
is    denied.      The   court    has    conducted    numerous       trials       with   two
defendants seated at one table and finds that the seating arrangement
is not prejudicial.
       K.    Motion for Disclosure of Grand Jury Transcripts (Doc. 349)
       Defendant    Sierra-Medrano        moves    for   an    order     requiring       the
government to disclose the grand jury transcripts and minutes.
            There is a long-established policy that maintains the
       secrecy of the grand jury proceedings in the federal
       courts.   The Supreme Court has stated that the proper
       functioning of our grand jury system depends upon the
       secrecy of grand jury proceedings. The Court consistently
       has held that Fed. R. Crim. P. 6(e)(3)(C)(i) requires a
       strong showing of particularized need before grand jury
       materials are disclosed.
            Rule 6(e)(3)(C)(ii) of the Federal Rules of Criminal

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     Procedure provides that disclosure of grand jury materials
     may be had when permitted by a court at the request of the
     defendant, upon a showing that grounds may exist for a
     motion to dismiss the indictment because of matters
     occurring before the grand jury. Fed. R. Crim. P.
     6(e)(3)(C)(ii).
United States v. Warren, 747 F.2d 1339, 1347 (10th Cir. 1984)(internal
case citations omitted).
     Sierra-Medrano does not suggest that the production of the grand
jury minutes or testimony will reveal grounds for dismissal of the
indictment.      Rather,     Sierra-Medrano        appears      to   argue      that      the
production of the minutes will result in the identification of known
co-conspirators and their testimony.              There is no exception in the
federal rules to allow for disclosure of grand jury minutes for
identification of known co-conspirators.                The court has, however,
infra, required the government to disclose the identity of known
unindicted co-conspirators.
     Sierra-Medrano        has    not   satisfied       the     requirement          of     a
particularized need.       Therefore, he is not entitled to the grand jury
minutes.   Defendants are, however, to be provided with the testimony
of any witnesses who will also be testifying at trial.                    18 U.S.C. §
3500(a).   (There is no suggestion that any defendant testified before
the grand jury).      The government assures the court that it will
disclose   the   testimony       of   testifying     witnesses       prior      to   their
testimony in this trial.         The date of disclosure will be set by the
court.    The government’s response is satisfactory.
     Defendant’s motion is denied.             (Doc. 349).
     L.     Motions to Produce (Docs. 372, 395, 396, 397)
     The government either intends to disclose or has disclosed all


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information sought in the motions to produce.              This material must be
disclosed on or before February 4, 2013, unless a different time is
allowed under a statute or rule, i.e. Jencks material.                   The motions
are granted.     (Docs. 372, 395, 396, 397).
     M.      Motions for Joinder
     Defendants’ motions to join in their co-defendants’ filings are
granted.     (Docs. 374, 375, 384, 387, 388, 392, 393, 394, 404, 409,
410, 411, 413, 415, 420, 421, 423, 427, 431, 433, 434, 435, 436, 437,
445, 446, 448, 449, 453, 454, 455, 457, 458, 459, 460).
     N.      Motion to Exclude Bruton Evidence (Doc. 378)
     Defendants move to prevent the government from introducing any
co-defendant statements which implicate them in criminal activity.
The government responds that it fully intends to comply with the
Bruton case and redact names from any statements offered.                          The
government shall make all Bruton disclosures at least ten days before
trial and the court will take up specific challenges to the statements
prior to or during trial, as may be appropriate.
     The    motion   to    exclude   Bruton     evidence       is   denied,    without
prejudice.
     O.      Motion for Disclosure of Confidential Informants (Doc. 381)
     Defendants seek the disclosure of persons who identified them as
members of the Nortenos and cooperating defendants.                  The government
responds that the majority of the information about defendants was
gained from law enforcement who will testify at trial. The government
further responds that it will disclose all Jencks material prior to
trial, including information provided by persons affiliated with the
Nortenos.    The government likewise responds that it will also provide

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all information about cooperating defendants as those defendants enter
into agreements with the government.
     The motion for disclosure of confidential informants is therefore
denied as moot.      (Doc. 381).
     P.     Motions to Sever (Docs. 383, 386, 391, 398, 407, 414, 418,
            428, 441)
     The majority of the 22 defendants filed motions or joined in
motions to sever in this case.           The government’s response to each
motion was virtually identical and included the standard language
regarding prejudice and the necessity of limiting instructions.
Interestingly, the government remarked that defendants charged with
lesser crimes might have an advantage in going to trial with those co-
defendants charged with more serious crimes because they would appear
less culpable.       (Doc. 482 at 3).
     The court will not conduct a trial with 22 defendants.                   It would
be chaotic and an undue burden on all parties, including the United
States    Marshals    and   the   jurors.      The   government     suggests,     and
experience proves, that at least some defendants will plead guilty.
At this time, the court does not have a sufficient basis to determine
which defendants would be best tried together.             At the James hearing,
the court will set a deadline for pleas.             After all the motions are
ruled on and pleas are completed, the court will revisit with counsel
the matter of severance.
     Defendants’ motions to sever are taken under advisement.
     Q.     Motions to Dismiss (Docs. 416, 430, 438)
            1.   Jesus Torres’ Motion to Dismiss on Double Jeopardy
                 Grounds

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        Torres moves to dismiss the indictment on the basis that because
he is being charged with crimes based on the same conduct in state
court, this prosecution violates his Fifth Amendment rights.                            The
Fifth Amendment's Double Jeopardy Clause states that “[n]o person
shall . . . be subject for the same offence to be twice put in
jeopardy of life or limb.”               U.S. Const. amend. V.            There is one
limitation to this right - the dual sovereignty doctrine.                          United
States v. Barrett, 496 F.3d 1079, 1118 (10th Cir. 2007).                     Under this
doctrine, a defendant has committed two offenses when he breaks the
law of two sovereigns.             Id.    “A classic application of the dual
sovereignty doctrine is the case of successive prosecutions by a state
and the federal government.”             Id.     “In United States v. Lanza, 260
U.S. 377, 384, 43 S. Ct. 141, 67 L. Ed. 314 (1922), the Supreme Court
held    that    the    Double    Jeopardy      Clause   did   not   bar   the     federal
prosecution of a criminal defendant who had previously been tried and
convicted in state court for the same underlying conduct.”                        Id.
        Torres’ motion to dismiss is therefore denied.                 (Doc. 416).
               2.     Gonzalo Ramirez’ Motion to Dismiss (Doc. 430)
        Ramirez moves to dismiss the indictment on the basis that it is
an improper exercise of the Commerce Clause.                      Ramirez’ motion is
denied for the reasons stated in the government’s response.                         (Doc.
484).
               3.     Jayson Vargas’ Motion to Dismiss on the Basis of
               Selective Prosecution (Doc. 438)
        Vargas moves to dismiss the indictment on the basis that the
government “lumped these common minorities into a group and upped the
anti by calling them a Criminal Enterprise, without much commonality,

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except their ethnic uniformities.” (Doc. 438 at 5). In United States
v. Armstrong, 517 U.S. 456 (1996), the United States Supreme Court
held that a defendant claiming selective prosecution must demonstrate
"that the federal prosecutorial policy had a discriminatory effect and
that it was motivated by a discriminatory purpose."                   517 U.S. at 465.
Vargas’ conclusory motion does not satisfy this burden.                    The motion
is therefore denied.          (Doc. 438).
        R.     Motions to Suppress (Docs. 424, 440)
        Ramirez and Vargas move to suppress statements made to law
enforcement. The government responds that it will not introduce these
statements, if they even exist, at trial.               Therefore, the motions are
denied.       (Docs. 424, 440).
III. Conclusion
        Defendants’ motions for gang related discovery are granted.
(Docs. 325, 355, 356, 379).                  Defendants’ motions for a bill of
particulars are granted in part and denied in part.                   (Docs. 328, 351,
385, 417, 430).        Defendants’ motions for a James Hearing are granted.
(Doc. 330, 353, 367, 369, 443).              Defendants’ motions to exclude co-
conspirator testimonial statements (Docs. 332, 340) are denied as
moot.        Defendants’ motions for notice of the government’s intent to
offer rule 404(b) evidence are granted.                (Docs. 334, 342, 366, 397).
Defendants’       motion      to   exclude    guilty    pleas    by    non-testifying
defendants is denied as moot.                 Defendant Garcia’s motion for an
extension of time is denied.             (Doc. 338).         Defendants’ motion to
prohibit law enforcement from approaching defendants is denied. (Doc.
344).        Defendants’ motion to allow defendants’ investigators not to
be     subject    to   the    sequestration     rule    is   granted.    (Doc.   346).

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Defendant Sierra-Medrano’s motions for a separate table at trial and
disclosure of grand jury materials are denied.                  (Doc. 347, 349).
Defendants’ motions for production are granted. (Docs. 372, 395, 396,
397). Defendants’ motions to join in their co-defendants’ filings are
granted.   (Docs. 374, 375, 384, 387, 388, 392, 393, 394, 404, 409,
410, 411, 413, 415, 420, 421, 423, 427, 431, 433, 434, 435, 436, 437,
445, 446, 448, 449, 453, 454, 455, 457, 458, 459, 460).                 The motion
to exclude Bruton evidence is denied.             (Doc. 378).      The motion for
disclosure of confidential informants is denied as moot.               (Doc. 381).
Defendants’ motions to sever are taken under advisement.               (Docs. 383,
386, 391, 398, 407, 414, 418, 428, 441).                Defendants’ motions to
dismiss are denied.        (Docs. 416, 430, 438).       Defendants’ Ramirez and
Vargas’ motions to suppress are denied.            (Docs. 424, 440).




     IT IS SO ORDERED.
     Dated this     10th       day of January 2013, at Wichita, Kansas.


                                           s/ Monti Belot
                                           Monti L. Belot
                                           UNITED STATES DISTRICT JUDGE




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